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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)

v. ) Criminal Action No, 21-161 (RBW)
)
DUSTIN BYRON THOMPSON and )
ROBERT LYON, )
)
Defendants, )
= )

ORDER

Upon consideration of the United States’ Motion for Early Return of Trial Subpoena
Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby

ORDERED that the United States’ Motion for Early Return of Trial Subpoena Pursuant
to Federal Rule of Criminal Procedure 17(c), ECF No. 45, is GRANTED. It is further

ORDERED that Oath Holdings, Inc. (Yahoo) comply with Trial Subpoena
No. TR2021120284957, ECF No. 45-1, by producing records as described in Attachment A to
the subpoena. It is further

ORDERED that Oath Holdings, Inc. (Yahoo), in lieu of appearing in court with the
requested records, may provide them directly to the United States Attorney’s Office for the
District of Columbia on or before January 26, 2022, at 12:30 p.m. It is further

ORDERED that the government shall promptly produce any subpoena results it receives
to the defendant through the discovery process. It is further

ORDERED that the government may grant the subpoenaed entities any requested

necessary extensions of time to comply with the subpoenas.
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SO ORDERED this 10th day of January, 2022.

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"REGGIE B. WALTON
United States District Court Judge
